Case 5:12-cv-00114-JPB-JPM Document 428 Filed 10/05/18 Page 1 of 5 PageID #: 10918




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  Wheeling Division

  PHILIP ALIG, SARA J. ALIG,
  ROXANNE SHEA and DANIEL V. SHEA,
  individually and on behalf of a class of persons,

                 Plaintiffs,

         v.                                                Civil Action No. 5:12cv114 (lead)
                                                           Civil Action No. 5:12cv115
  QUICKEN LOANS INC., and                                  Honorable John Preston Bailey
  TITLE SOURCE, INC.,

                 Defendants.
        STIPULATION OF DISMISSAL OF CERTAIN CLAIMS WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1), Ronald and Jennifer Bender (“Class Members”) and

  Defendants Quicken Loans Inc. and Title Source Inc. (n/k/a Amrock, Inc.), through their

  undersigned counsel, hereby stipulate to dismissal of Class Members’ claim for actual damages

  with respect to their March 2007 loan by Quicken Loans for violations of the West Virginia

  Consumer Credit and Protection Act, W. Va. Code § 46A-2-121(1) (Count 4), with the parties

  waiving their rights of appeal as to that dismissal and agreeing to bear their own costs as to that

  claim. Such dismissal shall not disqualify Class Members from recovering, nor Defendants from

  appealing, any statutory penalty awarded by the Court for unconscionable inducement as it relates

  only to said loan.

                                               Respectfully submitted,


                                               /s/ Victor S. Woods________________
                                               Jonathan R. Marshall (WVSB #10580)
                                               Victor S. Woods (WVSB #6894)
                                               Steven R. Ruby (WVSB #10752)
                                               Bailey & Glasser LLP
                                               209 Capitol Street
                                               Charleston, WV 25301
Case 5:12-cv-00114-JPB-JPM Document 428 Filed 10/05/18 Page 2 of 5 PageID #: 10919




                                      (304) 345-6555
                                      (304) 342-1110 facsimile
                                      jmarshall@baileyglasser.com
                                      vwoods@baileyglasser.com
                                      sruby@baileyglasser.com

                                      Patricia M. Kipnis (WVSB #12896)
                                      Bailey & Glasser LLP
                                      923 Haddonfield Road
                                      Suite 300
                                      Cherry Hill, New Jersey 08002
                                      (856) 324-8219
                                      pkipnis@baileyglasser.com

                                      - and-

                                      Jason E. Causey (WBSB #9482)
                                      Bordas & Bordas, PLLC
                                      1358 National Road
                                      Wheeling, WV 26003
                                      (304) 242-8410
                                      jcausey@bordaslaw.com

                                      QUICKEN LOANS INC. and AMROCK INC.
                                      (f/k/a TITLE SOURCE, INC.)


                                      By: /s/ Joseph F. Savage, Jr.
                                      Joseph F. Savage, Jr. (WV Bar No. 3265)
                                      Yvonne W. Chan (Pro hac vice)
                                      Katherine G. McKenney (Pro hac vice)
                                      Counsel for Quicken Loans Inc. and Amrock Inc.
                                      GOODWIN PROCTER LLP
                                      100 Northern Avenue
                                      Boston, MA 02210
                                      Telephone: (617) 570-1000
                                      Facsimile: (617) 523-1231
                                      E-mail: jsavage@goodwinlaw.com
                                      E-mail: ychan@goodwinlaw.com
                                      E-mail: kmckenney@goodwinlaw.com

                                      Thomas M. Hefferon (Pro hac vice)
                                      Brooks R. Brown (Pro hac vice)
                                      Counsel for Quicken Loans Inc. and Amrock Inc.
                                      GOODWIN PROCTER LLP
                                      901 New York Avenue, N.W.


                                         2
Case 5:12-cv-00114-JPB-JPM Document 428 Filed 10/05/18 Page 3 of 5 PageID #: 10920




                                      Washington, D.C. 20001-4432
                                      Telephone: (202) 346-2000
                                      Facsimile: (202) 346-4444
                                      E-mail: thefferon@goodwinlaw.com
                                      E-mail: bbrown@goodwinlaw.com

                                      Anne E. Railton (Pro hac vice)
                                      Counsel for Quicken Loans Inc. and Amrock Inc.
                                      GOODWIN PROCTER LLP
                                      620 Eighth Avenue
                                      New York, NY 10018
                                      Telephone: (212) 459-7434
                                      Facsimile: (646) 558-4174
                                      E-mail: arailton@goodwinlaw.com

                                      Carrie Goodwin Fenwick (WV Bar No. 7164)
                                      Richard D. Owen (WV Bar No. 2794)
                                      Counsel for Quicken Loans Inc. and Amrock Inc.
                                      Goodwin & Goodwin, LLP
                                      300 Summers Street, Suite 1500
                                      Charleston, WV 25301
                                      Telephone: (304) 346-7000
                                      Facsimile: (304) 344-9692
                                      E-mail: cgf@goodwingoodwin.com
                                      E-mail: rdo@goodwingoodwin.com

                                      John C. Lynch (WV Bar No. 6627)
                                      Jason E. Manning (WV Bar No. 11277)
                                      Counsel for Quicken Loans Inc. and Amrock Inc.
                                      TROUTMAN SANDERS LLP
                                      222 Central Park Avenue, Suite 2000
                                      Virginia Beach, Virginia 23462
                                      Telephone: (757) 687-7564
                                      Facsimile: (757) 687-1524
                                      E-mail: john.lynch@troutmansanders.com
                                      E-mail: jason.manning@troutmansanders.com



  Dated: October 5, 2018




                                        3
Case 5:12-cv-00114-JPB-JPM Document 428 Filed 10/05/18 Page 4 of 5 PageID #: 10921




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 Wheeling Division

  PHILIP ALIG, SARA J. ALIG,
  ROXANNE SHEA and DANIEL V. SHEA,
  individually and on behalf of a class of persons,

                Plaintiffs,

         v.                                             Civil Action No. 5:12cv114 (lead)
                                                        Civil Action No. 5:12cv115
  QUICKEN LOANS INC., and                               Honorable John Preston Bailey
  TITLE SOURCE, INC.,

                Defendants.

                                 CERTIFICATE OF SERVICE


         I hereby certify that on this 5th day of October 2018, the foregoing STIPULATION OF
  DISMISSAL OF CERTAIN CLAIMS WITH PREJUDICE was served on counsel of record
  through the CM/ECF system, which will notify the following CM/ECF participants:


                              Joseph F. Savage, Jr. (WV Bar No. 3265)
                                  Yvonne W. Chan (Pro hac vice)
                               Katherine G. McKenney (Pro hac vice)
                                    GOODWIN PROCTER LLP
                                        100 Northern Avenue
                                         Boston, MA 02210
                                    Telephone: (617) 570-1000
                                     Facsimile: (617) 523-1231
                                 E-mail: jsavage@goodwinlaw.com
                                  E-mail: ychan@goodwinlaw.com
                               E-mail: kmckenney@goodwinlaw.com

                                Thomas M. Hefferon (Pro hac vice)
                                  Brooks R. Brown (Pro hac vice)
                                   GOODWIN PROCTER LLP
                                   901 New York Avenue, N.W.
                                   Washington, D.C. 20001-4432
                                    Telephone: (202) 346-2000
                                    Facsimile: (202) 346-4444
                                E-mail: thefferon@goodwinlaw.com
                                E-mail: bbrown@goodwinlaw.com
Case 5:12-cv-00114-JPB-JPM Document 428 Filed 10/05/18 Page 5 of 5 PageID #: 10922




                             Anne E. Railton (Pro hac vice)
                              GOODWIN PROCTER LLP
                                  620 Eighth Avenue
                                 New York, NY 10018
                              Telephone: (212) 459-7434
                               Facsimile: (646) 558-4174

                       Carrie Goodwin Fenwick (WV Bar No. 7164)
                          Richard D. Owen (WV Bar No. 2794)
                              300 Summers Street, Suite 1500
                                  Charleston, WV 25301
                                Telephone: (304) 346-7000
                                Facsimile: (304) 344-9692
                            E-mail: cgf@goodwingoodwin.com
                            E-mail: rdo@goodwingoodwin.com

                            John C. Lynch (WV Bar No. 6627)
                          Jason E. Manning (WV Bar No. 11277)
                              TROUTMAN SANDERS LLP
                           222 Central Park Avenue, Suite 2000
                              Virginia Beach, Virginia 23462
                                 Telephone: (757) 687-7564
                                 Facsimile: (757) 687-1524
                         E-mail: john.lynch@troutmansanders.com
                       E-mail: jason.manning@troutmansanders.com



                                        /s/ Victor S. Woods________________
                                        Victor S. Woods (WVSB #6894)
